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                        UNITED STATES DISTRICT COURT
                         MIDDLE DISTRICT OF FLORIDA
                             ORLANDO DIVISION


John Loiacono,                                        Case No. 8:10-cv-1084

       Plaintiff,

v.                                                        NOTICE OF DISMISSAL
                                                            WITH PREJUDICE
NCO Financial Systems, Inc.,

       Defendant.

       Now comes Plaintiff, by and through counsel, and pursuant to Fed. R. 41(a)(1)(A)(i),

hereby dismisses the present action with prejudice. This notice is being filed before Defendant

has served an answer and therefore is appropriate for dismissal absent stipulation by all parties.



                                              RESPECTFULLY SUBMITTED,

                                              Legal Helpers, LLP

                                              By: /s/ Helene Karen Gatto
                                                 Helene Karen Gatto, Bar # 0190527
                                                 2901 West Busch Blvd, Suite 701
                                                 Tampa, FL 33618
                                                 Telephone: 866-339-1156
                                                 Email: kga@legalhelpers.com
                                                 Attorneys for Plaintiff




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                                CERTFICATE OF SERVICE

       I hereby certify that on August 9, 2010, I served Defendant with a copy of the foregoing

Notice by depositing the same in the U.S. mail addressed as follows.

Dayle Van Hoose
SESSIONS FISHMAN NATHAN & ISRAEL
3350 Buschwood Park Drive, Suite 195
Tampa, FL 33618

                                                           /s/ Helene Karen Gatto




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